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                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                              JOHNSON v. JOHNSON
                                                Cite as 308 Neb. 623



                           Elicia Marie Johnson, appellee, v. Matthew
                                   Eugene Johnson, appellant.
                                                  ___ N.W.2d ___

                                        Filed March 12, 2021.    No. S-20-428.

                 1. Contempt: Appeal and Error. In a civil contempt proceeding where
                    a party seeks remedial relief for an alleged violation of a court order,
                    an appellate court employs a three-part standard of review in which (1)
                    the trial court’s resolution of issues of law is reviewed de novo, (2) the
                    trial court’s factual findings are reviewed for clear error, and (3) the trial
                    court’s determinations of whether a party is in contempt and of the sanc-
                    tion to be imposed are reviewed for abuse of discretion.
                 2. Divorce: Judgments: Appeal and Error. The meaning of a divorce
                    decree presents a question of law, in connection with which an appellate
                    court reaches a conclusion independent of the determination reached by
                    the court below.
                 3. Courts: Jurisdiction: Divorce: Property Settlement Agreements. A
                    district court, in the exercise of its broad jurisdiction over marriage dis-
                    solutions, retains jurisdiction to enforce all terms of approved property
                    settlement agreements.
                 4. Courts: Jurisdiction. A court that has jurisdiction to make a decision
                    also has the power to enforce it by making such orders as are necessary
                    to carry its judgment or decree into effect.
                 5. Contempt. Civil contempt proceedings are instituted to preserve and
                    enforce the rights of private parties to a suit when a party fails to com-
                    ply with a court order made for the benefit of the opposing party.
                 6. Courts: Jurisdiction: Divorce: Contempt. A court’s continuing juris-
                    diction over a dissolution decree includes the power to provide equitable
                    relief in a contempt proceeding.
                 7. Contempt: Courts: Equity. Contempt proceedings may both compel
                    obedience to orders and administer the remedies to which the court has
                    found the parties to be entitled. Where a situation exists that is con-
                    trary to the principles of equity and which can be redressed within the
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                         JOHNSON v. JOHNSON
                           Cite as 308 Neb. 623
   scope of judicial action, a court of equity will devise a remedy to meet
   the situation.
8. Divorce: Property Settlement Agreements: Final Orders. A decree is
   a judgment, and once a decree for dissolution becomes final, its mean-
   ing, including the settlement agreement incorporated therein, is deter-
   mined as a matter of law from the four corners of the decree itself.
9. Divorce: Judgments: Intent. The meaning of a decree must be deter-
   mined from all parts thereof, read in its entirety, and must be construed
   as a whole so as to give effect to every word and part, if possible, and
   bring all of its parts into harmony as far as this can be done by fair and
   reasonable interpretation.

  Appeal from the District Court for Sarpy County: Stefanie
A. Martinez, Judge. Affirmed.
   John A. Kinney and Jill M. Mason, of Kinney &amp; Mason,
P.C., L.L.O., for appellant.
  No appearance for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Papik, J.
   Matthew Eugene Johnson appeals from a district court order
finding that the decree that dissolved his marriage required
him to pay for his daughter’s college education and auto­
mobile. He contends that the district court order was punitive
and thus inappropriately entered in a civil contempt proceed-
ing, and that the district court should have found that he was
not obligated to pay for the expenses at issue because his
daughter had repudiated her relationship with him. We find no
merit to Matthew’s contentions and therefore affirm.
                      BACKGROUND
Dissolution Decree.
  Matthew and Elicia Marie Johnson were married in 1995.
During the marriage, they had two children: Kamren Johnson,
born in 1999, and Mattison Johnson, born in 2001.
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                      JOHNSON v. JOHNSON
                        Cite as 308 Neb. 623
   In 2011, Elicia initiated divorce proceedings in the Sarpy
County District Court. The parties negotiated a property settle-
ment agreement and a parenting plan, both of which were
approved by the district court and incorporated in a decree dis-
solving the marriage.
   Under the decree, Matthew and Elicia were granted joint
legal custody of both children. Physical custody of Mattison
was awarded to Elicia, with parenting time for Matthew.
Physical custody of Kamren was awarded to Matthew, with
parenting time for Elicia.
   The decree contained a provision requiring Matthew to
establish college savings plans for Kamren and Mattison. It
provided as follows:
      COLLEGE FUNDS FOR MINOR CHILDREN. [Matthew]
      shall establish college savings plans for the minor chil-
      dren as follows: [Matthew] shall have discretion as to the
      amount of contributions he makes in each year and the
      manner in which he invests his contributions, provided
      that the college account for each child is “fully funded”
      by the time that the child graduates from high school.
      Each child’s account shall be considered “fully funded”
      at the point where its balance equals four (4) times the
      rate for undergraduate tuition, books, lab fees, and room
      and board at the University of Nebraska at Lincoln in the
      year immediately following the child’s graduation from
      high school. [Matthew] shall provide [Elicia] with docu-
      mentation confirming that each account has been “fully
      funded” on or before the date of each child’s graduation
      from high school.
   Another provision of the decree concerned automobiles for
the children. It required Matthew to provide each child with an
automobile upon turning 16 years old. The automobiles were
to be of the same age and the same or equivalent model. It
further provided that Matthew was to pay for the auto­mobiles’
registration, insurance, and repairs in addition to their pur-
chase price.
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                      JOHNSON v. JOHNSON
                        Cite as 308 Neb. 623
   In 2016, Matthew and Elicia asked the district court to
approve a stipulated modification to the dissolution decree.
The parties stipulated to changes in the parenting plan and
Matthew’s child support obligations. The stipulated order of
modification also contained a provision addressing Matthew’s
obligation to pay for the children’s automobile expenses. It
provided that Matthew “shall be financially responsible for
providing both Kamren and Mattison suitable, safe, working
cars for the children and the auto insurance and maintenance
for said cars.”
Contempt Proceedings.
   In December 2019, Matthew filed a verified application for
an order to show cause in which he asked the district court to
find Elicia in contempt. He alleged that Elicia had consistently
denied Matthew the parenting time with Mattison allotted to
him by the decree.
   In January 2020, Elicia filed a verified application for an
order to show cause in which she asked the district court to
find Matthew in contempt. In the application, Elicia alleged
that Matthew had refused to pay for an automobile and auto-
mobile insurance for Mattison, refused to pay for Mattison’s
tuition and related expenses at the University of Nebraska-
Lincoln, and refused to provide to Elicia documentation prov-
ing the college savings plan required by the decree was fully
funded. Elicia contended that the decree required Matthew to
take such actions, that his failure to do so was willful and mali-
cious, and that he should be held in contempt.
   In March 2020, the district court held a hearing on the par-
ties’ contempt applications. At the hearing, Matthew testified
that he had not had parenting time with Mattison since the
summer of 2018, that Mattison did not respond to his attempts
to communicate with her, and that he had no relationship with
her. He testified that he believed Mattison had repudiated her
relationship with him and that, as a result, he was no longer
willing to pay for Mattison’s college education or automobile
expenses. Matthew testified that he had funds available to
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                      JOHNSON v. JOHNSON
                        Cite as 308 Neb. 623
pay for Mattison’s college tuition and related expenses, but
admitted that he had not provided Elicia with documentation
of such funds. He also testified that he had not received infor-
mation regarding the specific expenses Elicia requested he pay
until a few weeks before the hearing.
   Mattison also testified at the hearing. She testified she was
18 years old and a student at the University of Nebraska-
Lincoln. She testified that when she went to Matthew’s home
for his scheduled parenting time, Matthew was often work-
ing or sleeping, and that she was not comfortable there. She
admitted that at some point in 2018, she stopped going to
Matthew’s home during his scheduled parenting time. She also
acknowledged that she had not communicated with Matthew
and had not had a meaningful relationship with him for the
last 11⁄2 years. She testified that she did not trust him and that
while she would be willing to go to counseling with him if he
would agree, she did not otherwise want him to be a part of
her life.
   Elicia was the final witness at the hearing. During her tes-
timony, the district court received into evidence spreadsheets
itemizing the out-of-pocket expenses Elicia had incurred for
Mattison’s college education and automobile. The spreadsheets
listed $12,715.43 in college expenses and $10,882.02 in auto-
mobile expenses. Elicia testified that she had notified Matthew
of these expenses, but that he refused to pay them.
District Court Order.
   After the hearing, the district court entered an order. It
rejected Matthew’s argument that he should not be obligated
to pay the expenses at issue because Mattison had repudiated
him as her father. The district court explained that it found no
authority under Nebraska law supporting the argument and that
it contradicted longstanding Nebraska law requiring parents
to provide support for their children until they reach the age
of majority.
   The district court went on to address the various rea-
sons why Elicia contended that Matthew should be held in
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                      JOHNSON v. JOHNSON
                        Cite as 308 Neb. 623
contempt. The district court found that the decree clearly
required Matthew to pay the automobile expenses, but that
because Matthew was only recently presented with the specific
expenses Elicia requested, and because Matthew had no part in
choosing the automobile in violation of the “intent and spirit”
of the relevant decree provision, he was not in contempt. The
district court clarified that while Matthew was not in con-
tempt, he was still obligated to pay the automobile expenses
under the decree.
   The district court found the decree less clear regarding col-
lege expenses, pointing out that it lacked language specifying
how or when the funds were to be disseminated. It observed
that the evidence showed that Matthew had complied with
the college savings plan provision to the extent that he had
established a college savings account that was fully funded as
defined by the decree. The district court found that Matthew
had not, however, complied with the provision of the decree
requiring that he provide Elicia with documentation of the
account. It concluded that Matthew was in contempt for not
providing this documentation, but not in contempt for failing
to pay the expenses. The district court ordered Matthew to
pay $10,882.02 for the automobile expenses and $12,715.43
for the college expenses. It ordered him to provide Elicia with
documentation of the college savings account within 5 business
days of its order.
   The district court found that Elicia was in contempt for
denying Matthew his parenting time.
   Matthew appealed from the district court’s order. Elicia did
not appeal.
                ASSIGNMENTS OF ERROR
  Matthew assigns three errors on appeal. He contends, reor-
dered and restated, that the district court erred (1) by entering
a damages award against him; (2) by ordering that he pay an
unconditional fine; and (3) by failing to find that under the
doctrine of repudiation, he owed no duty to pay the college or
automobile expenses.
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                       JOHNSON v. JOHNSON
                         Cite as 308 Neb. 623
                    STANDARD OF REVIEW
   [1] In a civil contempt proceeding where a party seeks reme-
dial relief for an alleged violation of a court order, an appellate
court employs a three-part standard of review in which (1) the
trial court’s resolution of issues of law is reviewed de novo, (2)
the trial court’s factual findings are reviewed for clear error,
and (3) the trial court’s determinations of whether a party is in
contempt and of the sanction to be imposed are reviewed for
abuse of discretion. Yori v. Helms, 307 Neb. 375, 949 N.W.2d
325 (2020).
   [2] The meaning of a divorce decree presents a question
of law, in connection with which an appellate court reaches
a conclusion independent of the determination reached by
the court below. Bayne v. Bayne, 302 Neb. 858, 925 N.W.2d
687 (2019).

                            ANALYSIS
District Court’s Remedy.
   Matthew’s first two assignments of error are based on an
incorrect understanding of the district court’s order. Matthew
asserts that the district court’s order that he pay Mattison’s col-
lege and automobile expenses was either a “type of damages
award” or an unconditional fine, and he contends that neither
are a permitted remedy for contempt. See brief for appellant
at 7. The district court’s order that Matthew pay Mattison’s
college and automobile expenses was not, however, a remedy
for contempt.
   The district court found that Matthew was in contempt
for failing to provide Elicia with documentation regarding
the funding of the college savings account for Mattison and
ordered him to provide that documentation within 5 days.
Because Matthew was presented with Mattison’s automobile
expenses shortly before the hearing, the district court found
that he was not in contempt for failing to pay them. But
while the district court found Matthew was not in contempt
for failing to pay expenses about which he was only recently
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                       JOHNSON v. JOHNSON
                         Cite as 308 Neb. 623
notified, it found that the decree required that he pay those
expenses. Similarly, the district court found that Matthew was
not in contempt for not paying Mattison’s college expenses
because the decree was not clear about how or when he was to
pay them, but the district court still interpreted the decree to
require that he pay such expenses.
   [3,4] By ordering Matthew to pay Mattison’s automobile
and college expenses, the district court was not entering a
damages award or fining Matthew for contempt; it was exercis-
ing its authority to interpret and enforce the decree. A district
court, in the exercise of its broad discretion over marriage dis-
solutions, retains jurisdiction to enforce all terms of approved
property settlement agreements. Whitesides v. Whitesides, 290
Neb. 116, 858 N.W.2d 858 (2015). A court that has jurisdiction
to make a decision also has the power to enforce it by making
such orders as are necessary to carry its judgment or decree
into effect. Id.   [5-7] The district court’s authority to enforce the decree was
not limited by the fact that Elicia initiated contempt proceed-
ings. Civil contempt proceedings are instituted to preserve
and enforce the rights of private parties to a suit when a party
fails to comply with a court order made for the benefit of the
opposing party. McCullough v. McCullough, 299 Neb. 719,
910 N.W.2d 515 (2018). A court’s continuing jurisdiction over
a dissolution decree includes the power to provide equitable
relief in a contempt proceeding. Id. Contempt proceedings may
both compel obedience to orders and administer the remedies
to which the court has found the parties to be entitled. Where
a situation exists that is contrary to the principles of equity and
which can be redressed within the scope of judicial action, a
court of equity will devise a remedy to meet the situation. Id.Although the district court apparently concluded that Matthew
did not willfully violate the decree by not paying Mattison’s
automobile and college expenses, and therefore did not hold
him in contempt for failing to do so, it still had authority to
enforce the decree by compelling him to follow it.
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                      JOHNSON v. JOHNSON
                        Cite as 308 Neb. 623
Repudiation.
   Matthew also argues that because Mattison refuses to have
any meaningful relationship with him, he should not have to
pay her automobile or college expenses, and the district court
erred by ordering him to do so. Matthew claims his argument
is supported by a doctrine of repudiation or estrangement
recognized in decisions from other states. He relies on cases
from Indiana and Pennsylvania in which courts held that a
parent was not required to contribute to his or her child’s col-
lege education because the child repudiated the relationship
with the parent. See, e.g., McKay v. McKay, 644 N.E.2d 164(Ind. App. 1994); Milne v. Milne, 383 Pa. Super. 177, 556
A.2d 854 (1989). As we will explain, however, those deci-
sions do not neatly map on to either the facts of this case or
Nebraska law.
   At the time of the Indiana and Pennsylvania decisions
relied upon by Matthew, the law of those states permitted
courts to order divorced parents to contribute to their child’s
college education after the child reached the age of majority.
See, McKay, supra; Milne, supra. In determining whether to
order such a support obligation, courts in those states consider
whether and to what extent the parents, if still married, would
have contributed to the child’s college education. See, McKay,
supra; Milne, supra. In the decisions relied upon by Matthew,
the courts reasoned that because a parent would not ordinar-
ily be inclined to contribute to the college education of a
child who had rejected a relationship with the parent, a parent
should not be obligated by a court to do so. See, McKay, supra;Milne, supra.   Even if we were to adopt the repudiation doctrine articu-
lated by these Indiana and Pennsylvania decisions as Matthew
urges, it does not appear that would be of any assistance to
Matthew in this appeal. Both courts emphasized that a parent
could be spared from a college support obligation only if an
adult child rejected a relationship with his or her parent. See,
McKay, supra; Milne, supra. Mattison, however, was 18 years
old and thus still a minor when the expenses at issue were
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                      JOHNSON v. JOHNSON
                        Cite as 308 Neb. 623
incurred. See Neb. Rev. Stat. § 43-2101(1) (Cum. Supp. 2020)
(unless married, persons under 19 years of age are declared to
be minors).
   But even setting Mattison’s age to the side, there is a more
fundamental difference between this case and those Matthew
relies upon—Matthew’s college support obligation arose
because of an agreement with Elicia, not as a result of unilat-
eral judicial imposition. In fact, in Nebraska, an obligation to
pay for a child’s college expenses after the child has reached
the age of majority could only come about through the parties’
agreement. Unlike their Indiana and Pennsylvania counterparts,
courts in Nebraska are not authorized to order a parent, over
his or her objection, to contribute to the support of children
beyond their majority as part of a marriage dissolution decree.
Compare Foster v. Foster, 266 Neb. 32, 662 N.W.2d 191(2003), with McKay, supra, and Milne, supra. Nebraska courts
will, however, enforce an approved property settlement agree-
ment voluntarily entered into by the parties which provides for
postmajority child support. See Carlson v. Carlson, 299 Neb.
526, 909 N.W.2d 351 (2018).
   Because any obligation Matthew has to fund Mattison’s
college education came about as a result of his agreement
with Elicia, we view the repudiation or estrangement doctrine
recognized in the Indiana and Pennsylvania cases Matthew
relies upon as inapplicable. On this point, we are in agree-
ment with other courts, including one from Pennsylvania.
In Cook v. Covey, 415 Pa. Super. 353, 609 A.2d 560 (1992),
a Pennsylvania court held that the fact that a daughter was
estranged from her father had no bearing on the father’s col-
lege support obligation because the obligation resulted not
from judicial fiat, but from the father’s agreement with the
mother. That court explained:
         The cases in which estrangement is relevant, how-
      ever, have been those cases in which a child has asked
      the court to judicially impose on a parent an obliga-
      tion to provide post-minority educational support in the
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                       JOHNSON v. JOHNSON
                         Cite as 308 Neb. 623
      absence of a specific agreement by the parent to do
      so. . . . Since Father agreed, in writing, to pay [the daugh-
      ter’s] college expenses, the trial court did not judicially
      impose an obligation on Father. Rather, the court merely
      enforced an obligation that Father has already assumed.
      The agreement specifically imposes Father’s obligation
      and is enforceable as written. The agreement is between
      Mother and Father. [The daughter] is a third-party benefi-
      ciary. As we cannot presume to know what concessions
      were made in the formation of the separation agreement,
      or what rights Mother may have relinquished in return
      for Father’s promise to pay college expenses, we will
      not look beyond the written agreement. If the parties
      had intended Father’s obligation to provide college sup-
      port to be contingent on a continuing relationship with
      [the daughter], the qualifier presumably would have been
      included in the agreement. Accordingly, whether Father
      and [the daughter] were estranged does not affect Father’s
      duty under the agreement with Mother.
Cook, 415 Pa. Super. at 358-59, 609 A.2d at 563. See, also,
Miller v. Miller, No. M2017-01867-COA-R3-CV, 2018 WL
2411591 (Tenn. App. May 29, 2018) (unpublished opinion)
(holding that mother was not relieved of contractual agree-
ment to pay college expenses based on son’s repudiation
of relationship).
   We find the reasoning of the court in Cook cogent and, for
the same reasons, find that Matthew’s obligations to pay for
Mattison’s expenses are controlled by the terms of the parties’
property settlement agreement incorporated in the dissolu-
tion decree.
   Like the agreement in Cook, the property settlement agree-
ment reached by Matthew and Elicia does not make Matthew’s
obligations contingent on a continuing parent-child relation-
ship. Matthew admitted this at oral argument, but advanced
a different argument regarding the terms of the college sav-
ings plan provision. He contended that the provision required
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                       JOHNSON v. JOHNSON
                         Cite as 308 Neb. 623
that he establish an account, but did not specify that the money
in the account must actually be used to pay for the children’s
college education. Matthew claimed that he could therefore
refuse to pay Mattison’s college expenses in response to her
refusal to have a relationship with him.
   [8,9] A decree is a judgment, and once a decree for dis-
solution becomes final, its meaning, including the settlement
agreement incorporated therein, is determined as a matter of
law from the four corners of the decree itself. Bayne v. Bayne,
302 Neb. 858, 925 N.W.2d 687 (2019). Unlike disputes over
the meaning of an ambiguous contract, the parties’ subjective
interpretations and intentions are wholly irrelevant to a court’s
declaration, as a matter of law, as to the meaning of an ambig­
uous decree. Id. The meaning of a decree must be determined
from all parts thereof, read in its entirety, and must be con-
strued as a whole so as to give effect to every word and part,
if possible, and bring all of its parts into harmony as far as this
can be done by fair and reasonable interpretation. Id.   We find that Matthew has not offered a reasonable interpre-
tation of the decree’s college savings plan provision. Matthew
is correct there is no express language in the decree stating he
must direct that money in the college savings plan be used to
pay for his children’s college education. Neither, however, is
there language giving him discretion to withhold funds from
one of his children pursuing a college education or language
setting forth what is to happen to those funds if not used to
fund the children’s college educations. In addition, we believe
the requirement that Matthew establish college savings plans
“for the minor children” suggests that the money in the account
was to be directed toward the children’s college education
should they pursue one. (Emphasis supplied.)
   In addition, Matthew’s argument that the decree does not
require that the funds be used for the children’s college educa-
tion sweeps beyond any alleged rejection of him by Mattison.
If, as he asserts, the decree requires only that he contribute
money to a college savings account, he could refuse to pay
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                      JOHNSON v. JOHNSON
                        Cite as 308 Neb. 623
for his children’s college education for any reason or no reason
at all. A parent would presumably have discretion to financially
contribute to his or her child’s college education in the absence
of a provision in a dissolution decree providing as much. It
is thus difficult to discern what purpose would be served by
requiring one party to a divorce to establish a college savings
account for the parties’ children, but also allowing that party
sole discretion as to whether those funds will actually be used
to pay for a child’s college attendance. We find that the only
reasonable interpretation of the college savings plan provision
is that it requires Matthew to use the funds in the account to
pay for Mattison’s college education.
   We do not believe the district court erred by rejecting
Matthew’s repudiation argument and requiring that he pay
Mattison’s college and automobile expenses.

                        CONCLUSION
  Because we find no merit to Matthew’s arguments on appeal,
we affirm the order of the district court.
                                                Affirmed.
